Case 3:18-cv-02123-JPG-GCS Document 14 Filed 01/03/19 Page 1 of 5 Page ID #30




                          UNITED STATES DISTRICT COURT
                                               for the
                                      Southern District of Illinois



  Lisa Unverzagt,
         Plaintiff(s),                                Civil Number: 18-CV-02123-JPG-DGW
                                                      CJRA Track: B
               v.                                     Final Pretrial Conf: 12/18/2019 at 9:00 a.m.
                                                      Jury Trial Date: 1/6/2020 at 9:00 a.m. in
  Allied Interstate, LLC,                             Benton, IL
          Defendant(s).                               Judge: J. Phil Gilbert, U.S. District Judge


              UNIFORM TRIAL PRACTICE AND PROCEDURES

         In conformity with the Civil Justice Reform Act of 1990 and in compliance with the Civil

 Justice Expenses and Delay Reduction Plan adopted by this Court, the following uniform

 procedures will apply to all civil cases filed in the Southern District of Illinois.

                                         Scheduling Practice

         Trial settings and other scheduling will vary depending on the track classification which

 was assigned to the case at the time of filing by the trial judge to whom the case is assigned. There

 are four tracks: “A,” “B,” “C,” and “D.” “A” cases are set for trial between 8-10 months after the

 date of first appearance of a defendant or the default date; “B” cases 11-14 months after the date

 of first appearance of a defendant or the default date; “C” cases 15-18 months after the date of first

 appearance of a defendant or the default date; and “D” cases 19-24 months after the date of first

 appearance of a defendant or the default date.

         Except in cases exempted under SDIL-LR 26.1(a), the attorneys (and any unrepresented

 parties) must meet in accordance with SDIL-LR 16.2(a) at least 21 days before any scheduling

 conference set by the Court to candidly discuss the issues in the case and potential discovery needs.

 ✎AO 85 (Rev. 01/09)
 MODIFIED SDIL (7/2013)
Case 3:18-cv-02123-JPG-GCS Document 14 Filed 01/03/19 Page 2 of 5 Page ID #31



 Fed. R. Civ. P. 26(f). Within 14 days after this meeting, and at least 7 days before the date of the

 scheduling conference, the participants must submit a Joint Report of the Parties and Proposed

 Scheduling Order to the Magistrate Judge.

        All track “B,” “C,” and “D” cases will be set for a scheduling and discovery conference

 before a Magistrate Judge within 40 days after the track has been set by the District Judge. The

 scheduling conference may be canceled at the discretion of the Court following receipt of the Joint

 Report of the Parties regarding their initial meeting. The Magistrate Judge may approve the parties'

 Joint Report of Parties and Proposed Scheduling and Discovery Order, or enter a separate

 scheduling order, as circumstances require.

        A final pretrial conference will be held by the trial judge at least 7 days prior to the first

 day of the presumptive trial month. The parties shall confer and jointly submit a Final Pretrial

 Order 3 days before the date of the final pretrial conference unless otherwise directed by the

 presiding judge.

                               Disclosures and Discovery Practice

        Except in cases exempted under SDIL-LR 26.1, the parties shall comply with the initial

 disclosure requirements of Federal Rule of Civil Procedure 26(a). These disclosures must be

 supplemented by the parties, depending on the nature of the case and any limitations placed on

 discovery at the scheduling conference. The disclosures and supplementation are not to be filed

 with the Clerk of Court.

        A party may not seek discovery from another source until: (a) the party seeking discovery

 has made its initial disclosures as required by Federal Rule of Civil Procedure 26(a), and, further,

 (b) the parties have met and conferred as required by SDIL-LR 16.2(a).



 ✎AO 85 (Rev. 01/09)
 MODIFIED SDIL (7/2013)
Case 3:18-cv-02123-JPG-GCS Document 14 Filed 01/03/19 Page 3 of 5 Page ID #32



        A party may not seek discovery from another party before such disclosures have been made

 by, or are due from, such other party. The cut-off date for all discovery, including experts and third

 parties, shall not be later than 115 days prior to the first day of the month of the presumptive trial

 date. Disclosure of experts and discovery with reference to experts and other discovery dates will

 be set according to the Joint Report of the Parties following their initial meeting or at the

 scheduling and discovery conference before the Magistrate Judge.

                                           Motion Practice

        Motions to remand, to dismiss, for judgment on the pleadings, for summary judgment, and

 all post-trial motions shall be supported by a brief and filed with the Clerk of Court. Any adverse

 party shall have 30 days after the service of the movant’s brief in which to file and serve an

 answering brief.

        Briefs shall be no longer than 20 double-spaced typewritten pages, 12 point font. Reply

 briefs, if any, shall be filed within 14 days of the service of a response and shall be no longer than

 5 pages. Such briefs are not favored and should be filed only in exceptional circumstances. Under

 no circumstances will sur-reply briefs be accepted. If a party believes it is necessary to supplement

 its brief with new authority due to a change in the law or the facts that occurred after the filing of

 its brief, the party must seek leave of court to file a supplemental brief. The supplemental authority

 shall be filed in accordance with the supplemental authority provisions found in Federal Rule of

 Appellate Procedure 28(j).

        For all motions other than those listed above, a supporting brief is not required. A party

 opposing such a motion shall have 14 days after service to file a written response. Failure to file a

 timely response to a motion may, in the Court’s discretion, be considered an admission of the

 merits of the motion. A reply, if any, shall be filed within 7 days of the service of the response.

 ✎AO 85 (Rev. 01/09)
 MODIFIED SDIL (7/2013)
Case 3:18-cv-02123-JPG-GCS Document 14 Filed 01/03/19 Page 4 of 5 Page ID #33



        A party may not schedule or notice a hearing or oral argument on a pending motion. Any

 party desiring oral argument on a motion shall file a formal motion and state the reason why oral

 argument is requested. Any motion may be either (1) scheduled by the Court for oral argument at

 a specified time; (2) scheduled for determination by telephone conference call; (3) referred to a

 United States Magistrate Judge for determination or recommendation; or (4) determined upon the

 pleadings and the motions without benefit of oral argument.

                                Notice of Magistrate Judge’s Availability

        The parties are reminded that a United States magistrate judge is available to conduct all

 proceedings in this action pursuant to 28 U.S.C. § 636(c). If this case is transferred on consent to

 a magistrate judge, major criminal cases will not interfere with its scheduling and progress. The

 consent process is explained further on the Notice and Consent to Proceed Before a Magistrate

 Judge form, which is attached to this document. The form can also be printed or downloaded from

 the court’s website, www.ilsd.uscourts.gov (under “Rules and Forms” then “For Civil Cases”), at

 any time.



                                               MARGARET M. ROBERTIE, Clerk of Court

                                                          By: /s/ Tina Gray
                                                          Deputy Clerk




 ✎AO 85 (Rev. 01/09)
 MODIFIED SDIL (7/2013)
       Case 3:18-cv-02123-JPG-GCS Document 14 Filed 01/03/19 Page 5 of 5 Page ID #34


                              UNITED STATES DISTRICT COURT
                                                      for the
                                             Southern District of Illinois




 vs.                                                         Case Number:




                               NOTICE AND CONSENT TO
                         PROCEED BEFORE A MAGISTRATE JUDGE
         Notice of a magistrate judge’s availability. In accordance with 28 U.S.C. § 636(c), a United States
magistrate judge of this court is available to conduct all proceedings in this civil action (including a jury or nonjury
trial) and to order the entry of a final judgment. The judgment may then be appealed directly to the United States
Court of Appeals for the Seventh Circuit like any other judgment of this court. A magistrate judge may exercise
this authority only if all parties voluntarily consent. You may consent to have your case referred to a magistrate
judge, or you may withhold your consent without substantive adverse consequences.

Note: If this case is transferred on consent to a magistrate judge, major criminal cases will not interfere with its
scheduling and progress. This means that it is likely this civil case will be resolved sooner and at less expense
to the parties if a magistrate judge decides the case.

      Consent to a magistrate judge’s authority. The following parties consent to have a magistrate judge
conduct all proceedings in this case including trial, entry of final judgment, and all post-trial proceedings.

 Printed Name of Party                        Signature of Party or Attorney                   Date




Attorneys should electronically file this form under seal with the clerk of court only if consenting to the exercise
of jurisdiction by a magistrate judge (use the event “Consent/Non-Consent to US Magistrate Judge located
under “Other Filings, Other Documents.”). Do not send this form to the judge. Unrepresented parties should
submit the form to the clerk in paper format. Illinois Department of Corrections institutions participating in the
electronic filing program should transmit the form electronically for e-filing by the clerk. Each party may file an
executed form independently, or the parties may circulate one form to be signed by all and electronically filed
when all signatures are obtained.

✎AO 85 (Rev. 01/09)
MODIFIED SDIL (7/2013)
